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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-CR-234-CJN
                                             :
JOSEPH W. FISCHER,                           :
                                             :
                      Defendant.             :


      GOVERNMENT’S UNOPPOSED MOTION TO MODIFY CONDITIONS OF
                        PRETRIAL RELEASE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this unopposed motion to modify defendant Joseph

Fischer’s conditions of pretrial release to restrict him from contacting the local public official

specified on page 2 of the status report filed by Pretrial Services (ECF No. 94). Last month, the

defendant contacted this public official, with whom he has no relationship, via social media. In a

private message, he wrote, “By the way…Go F**k yourself. If you believed one word from your

FBI buddy, then you’re really stupid. When I win, your name will be one of the first on my lips.

You’re already in my book.”

       Pretrial Services recommended that the Court modify the defendant’s conditions of release

to include a condition that he refrain from contacting this official by any means, including social

media. The government concurs, and has contacted defense counsel, who does not oppose the

requested modification.




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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney
                           D.C. Bar No. 481052


                     By:             /s/
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